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         ATTACHMENT 3
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        The   Marchand    and    Ourand        Sports      Media    Podcast:

        Episode   73:    Top    NFL     exec    Brian      Rolapp




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                                                                                     United States District Court
                                                                                     Central District of California
                                                                                                EXHIBIT
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                           JOHN     OURAND:              So,          how        do    you        balance

         the    needs      and     desires         of        Sunday              afternoon

         broadcasters             with     trying            to       grow        Sunday            Ticket?

                           BRIAN     ROLAPP:                 Yeah,           I    think            --    again,

         we    think      Sunday         Ticket         --       it    always              has      been,       and

         we    think      going     forward         will              be    an        add-on            premium

         product.          That’s         how     it'll           be       priced,

                           ANDREW         MARCHAND:                   Yeah,           do     you        know    the

         price?

                           BRIAN     ROLAPP:                 I    don’t           know           the     price.

         We    technically          don’t         set        the       price.

                           ANDREW        MARCHAND:                    Okay.

                           BRIAN     ROLAPP:                 YouTube              will           set     the

         price,     but     that’s         very     much              in    line           with         their




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                  vision     of-a       premium         additive             product.           That’s        one

                  reason     where        their      pitch      was          really       heavy      YouTube

                  TV,     which    we     liked.         That’s          a    growing          product        for

                  them;     they're        committed           to     it      and     that      clearly        is

                  complementary            to    what     we    do.           So,     I   think        it's

                  always     a    balance,         but    we    believe             how      it'll      be

                  priced     and    how     it'll        be    positioned,                it    will     be

                  complementary            and     premium          on       top    of    Sunday

                  afternoon,




theese



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